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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

UNITED STATES OF AMERICA,                         )
                                                  )
        Plaintiff,                                )         No. 6:13-CR-49-GFVT-HAI-1
                                                  )
v.                                                )
                                                  )      RECOMMENDED DISPOSITION
BRUCE MITCHELL,                                   )
                                                  )
        Defendant.                                )

                                       *** *** *** ***


       On referral from District Judge Van Tatenhove (D.E. 353), the Court considers reported

violations of supervised release conditions by Defendant Bruce Mitchell. On January 31, 2017,

the United States Probation Office (“USPO”) petitioned Judge Van Tatenhove to commence

revocation proceedings on the basis of three charged violations. The same day, Judge Van

Tatenhove issued a summons and referred the matter to the undersigned. Id. On February 14,

2017, while Judge Van Tatenhove was out of the country, the USPO issued an addendum that

contained two additional charges. Due to Judge Van Tatenhove’s unavailability, these two charges

have not yet been referred to the undersigned. Nevertheless, at the parties’ request, the undersigned

held a final revocation hearing with the expectation that, upon his return, Judge Van Tatenhove

will issue a nunc pro tunc order referring to the undersigned the violations in the addendum.

       Judge Van Tatenhove entered a judgment against Defendant in December 2014 following

a guilty plea to violating 21 U.S.C. §§ 841(a)(1) & 846, participating in a conspiracy to

manufacture methamphetamine. D.E. 320. Defendant received a prison sentence of 48 months,

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followed by a three-year term of supervised release. Id. He began his first term of supervised

release on July 12, 2016.

       On January 31, 2017, the USPO submitted a “Supervised Release Violation Report” (“the

Report”) that initiated these proceedings. The Report charges three violations, the third of which

has been dismissed.

       The first is an alleged violation of the condition requiring that Defendant “refrain from

excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any

controlled substance or any paraphernalia related to any controlled substances, except as

prescribed by a physician.” According to the Report, on January 13, 2017, Defendant submitted a

urine specimen that tested positive for cocaine. When he was confronted about the results on

January 23, Defendant “denied the use of cocaine or any illicit substances.” This is a Grade C

Violation.

       Second, in relation to this unauthorized use of a controlled substance, the Report charges

Defendant with violating the condition that he not commit another federal, state, or local crime.

Noting the Sixth Circuit’s decision that use of a controlled substance includes possession and

Defendant’s prior drug conviction, Violation #2 charges Defendant with conduct that would be a

federal crime, that is, possession of cocaine, a Schedule II controlled substance. Such conduct

would be a Class E felony pursuant to 21 U.S.C. § 844(a), Simple Possession of a Controlled

Substance. This is a Grade B violation.

       The Report contains a third charged violation. At Defendant’s initial appearance and

preliminary hearing, the government made an oral motion to dismiss Violation #3, which was

granted. D.E. 359.


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       On February 14, the day of Defendant’s initial appearance on the violation allegations, the

USPO issued an “Addendum to Supervised Release Violation Report” (“the Addendum”), which

alleged two additional violations. According to the Addendum, “On January 30, 2017, Bruce

Mitchell reported to the probation office and submitted to a urinalysis which produced positive

results for cocaine.” This fourth alleged violation is a Grade C violation.

       For Violation #5, in relation to Violation #4’s unauthorized use of a controlled substance,

the Report charges Defendant with violating the condition that he not commit another federal,

state, or local crime. Noting the Sixth Circuit’s decision that use of a controlled substance includes

possession and Defendant’s prior drug conviction, Violation #5 charges Defendant with conduct

that would be a federal crime, that is, possession of cocaine, a Schedule II controlled substance.

Such conduct would be a Class E felony pursuant to 21 U.S.C. § 844(a), Simple Possession of a

Controlled Substance. This is a Grade B violation.

       The Court conducted an initial appearance and preliminary hearing pursuant to Rule 32.1

on February 14, 2017. D.E. 359. After the presentation of evidence, Defendant conceded probable

cause regarding Violations # 1, 2, 4, and 5. Id. The government moved to dismiss Violation #3,

and the motion was granted. Id. The United States moved for interim detention; Defendant argued

for release. Id. Based on the heavy defense burden under 18 U.S.C. § 3143(a), the undersigned

remanded Defendant to the custody of the United States Marshal. Id.

       At the final hearing on February 22, 2017, Defendant was afforded all rights due under

Rule 32.1 and 18 U.S.C. § 3583. D.E. 361. Defendant competently entered a knowing, voluntary,

and intelligent stipulation to Violations # 1, 2, 4, and 5. Id. For purposes of Rule 32.1 proceedings,

Defendant admitted the factual basis for these four violations as described in the Report and


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Addendum. In the Supervised Release context, the Sixth Circuit treats controlled substance use

as equivalent to possession. See United States v. Crace, 207 F.3d 833, 836 (6th Cir. 2000). The

United States thus established Violations # 1, 2, 4, and 5 under the standard of § 3583(e).

                                                         I.

        The Court has evaluated the entire record, including the Report and Addendum and

accompanying documents, and the sentencing materials from the underlying Judgment.

Additionally, the Court has considered all of the § 3553 factors imported into the § 3583(e)

analysis.

        Under § 3583(e)(3), a defendant’s maximum penalty for a supervised release violation

hinges on the gravity of the underlying offense of conviction. Defendant pleaded guilty to

participating in a conspiracy to manufacture methamphetamine, a Class C felony. See 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(C), 846; 18 U.S.C. § 3559(a)(3). For a Class C felony, the maximum

revocation sentence provided under § 3583 is two years of imprisonment. 18 U.S.C. § 3583(e)(3).

        The Policy Statements in Chapter 7 of the Sentencing Guidelines provide advisory

imprisonment ranges for revocation premised on criminal history (at the time of original

sentencing) and the “grade” of the particular violation proven. See United States v. Perez-

Arellano, 212 F. App’x 436, 438-39 (6th Cir. 2007). Under § 7B1.1, Defendant’s admitted

conduct would qualify as a Grade C violation with respect to Violations # 1 and 4 and a Grade B

violation with respect to Violations # 2 and 5. Given Defendant’s criminal history category of I

(the category at the time of the conviction) and a Grade B violation, 1 Defendant’s range, under the


1 See U.S.S.G § 7B1.2(b) (“Where there is more than one violation of the conditions of supervision, or the violation
includes conduct that constitutes more than one offense, the grade of the violation is determined by the violation
having the most serious grade.”).

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Revocation Table of Chapter 7, is four to ten months.

       A court may also re-impose supervised release, following revocation, for a maximum

period that usually subtracts any term of incarceration actually imposed due to the violation. See

18 U.S.C. § 3583(b), (h). The post-revocation cap depends on the “term of supervised release

authorized by statute for the offense that resulted in the original term of supervised release.” See

18 U.S.C. § 3583(h).      Given the nature of Defendant’s conviction, pursuant to 21 U.S.C.

§ 841(b)(1)(C), there is no maximum term of supervised release that can be re-imposed.

                                                II.

       At the final hearing, the government argued for revocation with four months of

imprisonment, followed by two months at a halfway house, followed by supervised release to

expire on July 11, 2019, which is the current date of expiration. Defense counsel “loosely” agreed

with the government’s recommendation and said he had “no objection” to it. However, because

Defendant had a job that he did not want to lose, defense counsel requested a sentence of

intermittent incarceration.

       According to the government, although Defendant will lose his current job if he is

incarcerated for four months, he “may have a good job lined up” that he can begin once he is

transferred to a halfway house. Although Defendant was a “young man” with a “good job,” the

government argued, his felony conduct cannot be ignored. Regarding Defendant’s history and

characteristics, the government pointed out that he had a criminal history score of zero. Although

his underlying criminal conduct (obtaining meth precursors and cooking meth) was concerning,

there was nothing especially aggravating about it compared to similar defendants. The government

noted that, in addition to his meth abuse, Defendant had “experimented” with cocaine in the past.


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The government explained that it might not have sought revocation after the first positive urine

test for cocaine, but that the second positive test “changed things.” In light of the fact that he was

caught using cocaine twice (and lied about it the first time), the government believed a mid-range

sentence was appropriate, and that serving the final two months in a halfway house would give

him some “structure on the back end” so he could get a new job and “re-acclimate.”

       The defense conceded that the government’s recommendation was “fair.”                       But

imprisonment would be particularly “painful” because Defendant would lose his job. The defense

thus requested an “intermittent sentence.”

       Defendant addressed the Court. He apologized to the Court and the Probation Officer for

the lapse. He admitted he “slipped up.” He stated he misled the Probation Officer because he was

“embarrassed” to admit his cocaine use. He said he works really hard to keep what he has, and

that he helped take care of his sister. He asked to serve the whole sentence in the halfway house.

                                                 III.

       At the outset, the Court notes that Congress does mandate revocation in a case of this

nature. By statute, the Court must revoke Defendant because he possessed a controlled substance.

See 18 U.S.C. § 3583(g)(1); see also Crace, 207 F.3d at 836 (equating use with possession).

       To determine an appropriate revocation term of imprisonment, the Court has considered

all the statutory factors imported into the § 3583(e) analysis, as well as the Guidelines Range.

       The nature and         circumstances    of Defendant’s      underlying conviction       for a

methamphetamine manufacturing conspiracy are quite serious. See United States v. Johnson, 640

F.3d 195, 203 (6th Cir. 2001) (explaining that this sentencing factor focuses upon the original

offense rather than the violations of supervised release).          According to his Presentence


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Investigation Report, he was both a cook and a “smurf” who bought pseudoephedrine for making

meth.

        As to his history and characteristics, his criminal history category of I weighs in his favor.

All of Defendant’s criminal activity appears to be driven by his drug use. And, once again, drug

use has gotten him in trouble. Although Defendant reports that he completed the RDAP program

in prison, what he learned there did not prevent him from returning to cocaine. Also important is

his dishonesty with his Probation Officer. Had he admitted his cocaine use, perhaps he could have

gotten some help, avoided the second positive urinalysis, and been in a different situation today.

        As to deterring criminal behavior and protecting the community, Defendant does have a

low criminal history. However, in light of his prior conviction, all illegal drug use is a federal

felony for him. Deterrence is warranted to avoid further dangerous criminal conduct.

        The Court has considered any opportunities for providing education and treatment to the

Defendant. Here, Defendant has already completed the RDAP program. Under the present

circumstances, there is nothing better the Court can provide. Defendant needs to draw on what he

learned in that program.

        The need to avoid unwarranted sentencing disparities among defendants with similar

records who have committed similar violations is usually addressed by the recommendation of a

sentence within Defendant’s Guidelines Range.

        The Guidelines suggest that the primary wrong in the supervised release context is the

violation of the Court’s trust by an offender; the particular conduct is an important but secondary

issue. See Guidelines 7 Pt. A(3)(b) (“[A]t revocation the court should sanction primarily the

defendant’s breach of trust, while taking into account, to a limited degree, the seriousness of the


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underlying violation and the criminal history of the violator.”). The Court must impose a sentence

that is sufficient, but not greater than necessary, to address Defendant’s breach of trust and the

other statutory goals imported into § 3583(e). Here, Defendant breached the Court’s trust by using

an illegal drug on more than one occasion. He compounded this breach of trust by refusing to

admit his drug use to the Probation Officer. His deception precludes the leniency sought by the

defense. Defendant is warned that if he violates again, the penalty will increase.

       For the reasons stated above, the Court finds that a the government’s recommended penalty

is sufficient but not greater than necessary to meet the section 3553(a) factors incorporated into

this analysis. See 18 U.S.C. § 3583(e). The Court will recommend four months of incarceration,

followed by two months in a halfway house. Upon release, Defendant should be placed on

supervised release under the same conditions previously imposed, to expire on July 11, 2019.

                                                 IV.

       Based on the foregoing, the Court RECOMMENDS revocation with a term of

imprisonment of four months, followed by two months in the halfway house, followed by

supervised release to expire on July 11, 2019.

       Defendant’s right of allocution under Rule 32.1 is preserved, as reflected in the record.

Any waiver should comport with the Court’s standard waiver form, available from the Clerk.

Absent waiver, the matter will be placed on Judge Van Tatenhove’s docket upon submission.

       The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of the statute. See also 18 U.S.C. § 3401(i). As

defined by § 636(b)(1), within fourteen days after being served with a copy of this recommended

decision, any party may serve and file written objections to any or all portions for consideration,


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de novo, by the District Court. Failure to make timely objection consistent with the statute and

rule may, and normally will, result in waiver of further appeal to or review by the District Court

and Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981); Thomas v.

Arn, 474 U.S. 140, 153-54 (1985).

       This the 23rd day of February, 2017.




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